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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION


IN THE MATTER OF THE SEARCH OF                )            NO.: 2:22-cr-286
INFORMATION ASSOCIATED WITH                   )
THE TARGET TELEPHONE                          )
PARTICULARLY DESCRIBED IN                     )
ATTACHMENT A TO THE AFFIDAVIT                 )
OF FBI TFO JEROME N. DESHEERS                 )
DATED DECEMBER 29, 2021                       )


                                       MOTION TO SEAL

       The United States of America, by and through its undersigned Assistant United States

Attorney, hereby moves this Court to seal the affidavit in support of the search warrant and the

attachments thereto, as well as the return to the warrant identifying any evidence seized. The Court

has the inherent authority to seal these documents. See Baltimore Sun v. Goetz, 886 F. 2d 60 (4th

Cir. 1988). The purpose of the Government’s request is to protect the information contained within

these documents and to avoid the disclosure of the investigation at this time.

       Based on the facts in the affidavit, there is reason to believe that disclosure of the

information in these documents would seriously jeopardize the investigation including by giving

targets the opportunity to destroy or tamper with evidence, change patterns of behavior, flee from

prosecution, intimidate cooperating and potential witnesses, and endanger the safety of law

enforcement and other individuals. For these reasons, the Government submits that the interests in

sealing the affidavit and attachments thereto and the return outweigh the common-law public right

of access and that sealing is “essential to preserve higher values.” See Media Gen. Operations, Inc.

v. Buchanan, 417 F.3d 424, 429-31 (4th Cir. 2005). The Government further submits that, by

sealing only the affidavit in support of the search warrant, attachments thereto, and the return while
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providing public access to the search warrant, the application in support of the search warrant, the

motion to seal and the sealing order, the denial of access is narrowly tailored to serve the

Government’s interests in sealing. Id. at 429.

       Based on the foregoing, the Government requests that the affidavit in support of the search

warrant and attachments thereto, as well as the return, be filed under seal except that working

copies should be made available to the United States Attorney’s Office, FBI, and any other law

enforcement agency designated by the United States Attorney’s Office.



                                                 RESPECTFULLY SUBMITTED,



                                                 s/ Whit Sowards_______________
                                                 John Whitney “Whit” Sowards, #11844
                                                 Assistant United States Attorney
                                                 151 Meeting Street, Suite 200
                                                 Charleston, SC 29401

December 29, 2021




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